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  8                           UNITED STATES DISTRICT COURT
  9                         CENTRAL DISTRICT OF CALIFORNIA
 10
      OSCAR MOLINA,                              Case No. CV 12-1428- BRO (FFMx)
 11
                      Plaintiff,                 FINDINGS OF FACT AND
 12                                              CONCLUSIONS OF LAW AFTER
      v.                                         COURT TRIAL
 13
 14   DOLLAR TREE STORES, INC.,
 15                   Defendants.
 16
 17                                                  I.
 18                                     INTRODUCTION
 19         On October 30, 2012, Defendant Dollar Tree Stores, Inc. (“Dollar Tree”)
 20   removed this action for damages, alleging, among other things, a violation of: (1)
 21   California Business and Professions Code section 17200; (2) California Labor Code
 22   sections 510, 1194, 1198 for failure to pay overtime compensation; (3) California
 23   Labor Code sections 226, for failure to provide itemized wage statements; (4)
 24   California Labor Code sections 201, 202, and 203, for failure to provide wages when
 25   due; and, (5) California Labor Code section 2699.3, Private Attorney General Action
 26   (“PAGA”). (Dkt. No. 1.) The court has federal diversity jurisdiction pursuant to 28
 27   U.S.C. section 1332. The parties waived their right to a jury trial.
 28
                                                1.
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  1              On November 5 through November 8, 2013, and November 19, 2013, the
  2   Court tried this matter. After consideration of the parties’ trial briefs, the witnesses
  3   and evidence presented by both sides at trial in the case, as well as arguments of
  4   counsel, and Plaintiff’s objections to Defendant’s Proposed Findings of Fact and
  5   Conclusions of Law, the Court makes the following Findings of Fact and Conclusions
  6   of Law.1
  7                                                      II.
  8                                          FINDINGS OF FACT
  9            A. Admitted Facts
 10   Plaintiff Oscar Molina and Defendant Dollar Tree admitted certain facts, which the
 11   Court finds as true.
 12                    1. Dollar Tree operates more than 4,000 retail stores in the United States
 13                        and Canada with over 360 stores in California.
 14                    2. Dollar Tree sells a variety of items at a one dollar price point in many
 15                        of its stores.
 16                    3. Dollar Tree reports revenues in excess of $6.6 billion.
 17                    4. Molina began his employment as a non-exempt associate in 2004 and
 18                        was promoted to the Store Manager position in December 2005.
 19                    5. Molina worked for Dollar Tree as a Store Manager in the
 20                        Westminster, California store from July 20, 2008 through February
 21                        16, 2011 and from May 12, 2011 until December 31, 2011.
 22                    6. Dollar Tree terminated Molina’s employment on December 31, 2011.
 23                    7. Molina earned an annual salary ranging from $46,350 to $47, 277, as
 24                        a Store Manager. This amount did not include any bonuses.
 25                    8. From July 5, 2007 to July 5, 2008, Molina earned an annual base
 26                        salary of $45,000, which did not include bonuses.
 27
 28   1
          Any finding of fact which constitutes a conclusion of law is hereby adopted as a conclusion of law.

                                                       2.
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  1                9. From July 6, 2008 to July 11, 2009, Molina earned an annual base
  2                   salary of $46,350, which did not include bonuses.
  3                10. From July 12, 2009 to December 31, 2011, Molina earned an annual
  4                   base salary of $47, 277, which did not include bonuses.
  5                11. Dollar Tree classified Molina as an exempt employee during his
  6                   tenure as a Store Manager.
  7                12. During Molina’s tenure as a Store Manager, he was expected to
  8                   schedule the hours he would be at the store and available.
  9
 10         B. Trial Testimony

 11         The following summarized testimony reflects the testimony presented to the
 12
      Court in the order in which it was presented.
 13
 14                1. Oscar Molina

 15         Molina would schedule employee hours through Dollar Tree’s Compass
 16
      scheduling program. In so doing, he would take into account sales per employee
 17
 18   hours. Dollar Tree limited the number of employee hours based upon projected sales.

 19   David Peachey would review Molina’s scheduling of employee hours. Molina spent
 20
      time completing schedules, counting employee tills and responding to emails. In
 21
 22   Exhibit 14, Molina certified that he spent no more than 35 per cent of his time on non-

 23   exempt duties, that is, non-supervisory duties such as receiving stock, distributing,
 24
      storing and re-stocking product, preparing the store and cashiering.
 25
 26         A representative from Dollar Tree telephoned Molina in March 2009. The
 27   representative asked Molina why he was certifying, “no” on his certification of duties.
 28
                                               3.
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  1   Previously, in February 2008, Dollar Tree employee Reed Balderas telephoned
  2
      Molina and asked him why he was stating “no” on his duty certifications. During his
  3
  4   deposition, Molina testified that he did not remember the second telephone call of

  5   March 2009.
  6
               Exhibit 122 is Molina’s July 2008 to July 2009 performance evaluation from
  7
  8   his supervisor, Matt Rodrigues. His overall rating was “meets expectations”. Molina
  9   did not meet his budgeted payroll hours. His appraisal cautioned him to “lead by
 10
      example, Don’t be the first one to leave or not show at a work party.” Exhibit 5 is
 11
 12   Molina’s performance appraisal from July 2009 to July 2010. The appraisal stated
 13   that Molina missed his payroll budget by $4 and detailed Molina’s need to work on
 14
      his “first-of-the-month displays” as well as become more aggressive in
 15
 16   merchandising. Exhibit 6 is Molina’s performance appraisal from July 2010 to July
 17   2011, given to Molina by Dollar Tree District Manager Matthew Franz. Molina
 18
      received an overall rating of “unsatisfactory”. Exhibit 7 details discipline imposed
 19
 20   upon Molina by Matthew Rodrigues based upon Molina’s unsatisfactory performance
 21   during the period from December 2010 to January or February 2011. The appraisal
 22
      specified that Molina had changed his schedule and was absent from work without
 23
 24   notifying his supervisor, in violation of company policy. Exhibit 8 is an email to Reed
 25   Balderas. It states that Molina left the store on three days without notifying his
 26
      superior, did not report for work on two days and worked less than one-half of his
 27
 28   2
          The Court refers only to exhibits which were received in evidence.

                                                      4.
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  1   shift one day.
  2
             Molina lied on his resume, introduced in evidence as Exhibit 1. Specifically
  3
  4   Molina did not complete four years of high school and did not graduate from high

  5   school. Molina also answered “no” when asked whether he had ever been convicted
  6
      of a felony. Molina was previously convicted of a felony.3 When previously
  7
  8   reviewing Exhibit 12, Molina did not challenge the accuracy of the transactions;
  9   however, when testifying at trial, Molina challenged the accuracy of Exhibit 12.4 The
 10
      Court accepts the accuracy of Exhibit 12.
 11
 12          Molina also falsified the initials of another Dollar Tree employee and took the
 13   deposit to the bank by himself, in violation of company policy. Comparing Exhibits
 14
      41, 251, 252, 253 and 254 demonstrates that Molina lied when he stated he worked
 15
 16   alone on December 29, 2008 because Richard Aguilar initialed the deposit slip along
 17   with Molina. Molina lied when he maintained that he worked alone, took the deposit
 18
      to the bank by himself and forged Aguilar’s initials. Exhibit 254 is a cash register
 19
 20   transaction report showing Aguilar signed on to a cash register. Molina admitted that
 21   Dollar Tree employees, such as Anay Gomez or Richard Aguilar, forgot to clock in.
 22
      See Exhibit 123. Molina admitted that he might have left for lunch and not returned
 23
 24
 25   3
       Molina claimed that his parole officer told him that he (Molina) was not required to disclose his
 26   prior felony conviction because it was over 7 years old. In any event, Molina’s conviction was not 7
      years old, rather it was five years old. The Court finds this testimony not credible.
 27   4
        The Court finds Exhibit 12 to be accurate and finds Molina’s testimony to the contrary not
 28   credible.

                                                    5.
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  1   until the end of his shift. He claimed that this conduct occurred only when he was
  2
      “going through his troubles.”
  3
  4         Molina also falsely testified that he requested a leave of absence from Dollar

  5   Tree because he was having emotional problems with his girlfriend. Previously,
  6
      Molina was asked in deposition whether his relationship had anything to do with his
  7
  8   requesting a leave, to which Molina responded, “not really.” The Court credits Mr.
  9   Molina’s deposition testimony, not his trial testimony.
 10
            Molina created a resume, Exhibit 3, detailing his job experience at Dollar Tree.
 11
 12   Molina describes his job duties as managing up to 40 employees at peak times,
 13   overseeing “all aspects of the business”, “training associates”, “delegation of tasks,”
 14
      ordering, scheduling associates, inventory control, as well as the “overall presentation
 15
 16   and maintenance, protecting all company assets.” While at Dollar Tree, Molina hired
 17   approximately 100 people, the majority of which he interviewed by himself. Molina
 18
      also assigned job priorities to his associates. The employees numbered between 12
 19
 20   and 40; Molina had discretion to assign the number of associates he felt appropriate,
 21   within the amount of hours. In scheduling hours, Molina went over the allotted hours.
 22
      Molina’s store manager manual stated his responsibility to plan, delegate and follow
 23
 24   up on all activities within the store.
 25         Molina admitted using his judgment to schedule workers, including changing
 26
      cashier hours, freight processors, and sales recovery personnel. Molina also trained
 27
 28   and cross-trained these employees. Exhibit 197, for example, lists 25 employees with

                                               6.
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  1   362.39 employee hours. Molina also ordered freight. Dollar Tree required Molina to
  2
      plan, delegate and follow up on all activities within the store. Exhibit 197 also details
  3
  4   75 hours allotted to receipt and merchandise a load of freight consisting of 97 cartons.

  5   Molina was also responsible for reviewing a “break variance report” and to schedule
  6
      employees in a fashion so that they could take their breaks. With the Appleseed
  7
  8   planner, Exhibit 127, Molina scheduled various employees to fill back stock, fill
  9   impulse drinks, stationery, housewares, u-boats and other tasks. Molina also
 10
      evaluated, rated and disciplined his employees, as reflected in Exhibit 60.
 11
 12                2. McDearmon Testimony
 13   Mr. David McDearmon worked as the Director of Human Resources for Store
 14
      Operations for Dollar Tree since 1998. His team oversees staffing support as well as
 15
 16   manpower planning support. His team provides support to the district managers with
 17   soliciting and screening store manager level candidates. The team also assists regional
 18
      directors with soliciting and screening district manager level candidates, among other
 19
 20   tasks. Molina would have completed both assistant manager training as well as store
 21   manager training. The training consists of learning the operational management
 22
      aspects of the store which is the front end cash handling and so forth, learning the
 23
 24   backroom freight flow processing, and then dealing with the general merchandising,
 25   sales component of the store. When Molina was promoted, there was less specific
 26
      training from the assistant manager to manager position. Dollar Tree implemented the
 27
 28   revised training to decrease the number of unsuccessful store managers.

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  1         Exhibit 19 reflects the store manager certification process. When a store
  2
      manager listed ‘No” in response to the question whether they were spending more
  3
  4   than 50 per cent of their time on non-managerial tasks, they would be required to

  5   explain the reason. McDearmon directed his team to follow up with the managers
  6
      who responded “no” and have an “open conversation” with them to discover the
  7
  8   problem. After discussing the problem, the two would “partner” with the right person
  9   to “alleviate the problem.” However, discipline would not be tied to certifying “no”,
 10
      rather whether the person was appropriately managing his store.
 11
 12         Exhibit 15 reflects a log detailing a conversation McDearmon’s, along with his
 13   team member, had with Molina. They asked Molina why he certified “no” on his
 14
      report. Molina responded that he believed that his payroll hours were the principle
 15
 16   reason he spent his time on non-managerial tasks. Exhibit 16 details a call between
 17   Dollar Tree employee Kathryn Johnson and Molina on March 18, 2009 discussing
 18
      why Molina certified “no” on his report, representing to spend more than 50 per cent
 19
 20   of his time on non-managerial tasks. Exhibit 190 reflects Dollar Tree records,
 21   including performance evaluations, showing that on February 8, 2011, Molina, despite
 22
      being scheduled to work from 7:00 a.m. to 5:00 p.m., failed to notify his supervisor
 23
 24   that he would be missing a conference call.
 25
            3. David Peachey Testimony
 26
            Mr. Peachey served as a district manager for Dollar Tree from 2007 to 2009.
 27
 28   His district covered Molina’s store. His duties included developing store managers.

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  1   As a result, he would visit the store managers, review store operations, review
  2
      company programs, and coach managers. Molina requested additional payroll hours
  3
  4   from Peachy. In order to authorize additional payroll hours, the store manager was

  5   required to justify his need, which would be evaluated by the district manager.
  6
      Depending upon whether the district manager had additional hours, he could approve
  7
  8   the request or present the request to the regional manager who would make a decision
  9   whether to grant the store additional hours for special projects. Peachey cannot
 10
      remember whether he spoke to Molina about certifying “no” or expressing displeasure
 11
 12   with Molina’s certifications. Peachey communicated Dollar Tree’s expectation that
 13   Molina work 45 hours per week as a store manager. In speaking with Molina,
 14
      Peachey believed Molina understood the policy. Molina was to schedule himself for
 15
 16   50 hours per week and take a one-hour lunch break. Peachey communicated this
 17   policy to Molina. Peachey would expect that a store manager spend 30 hours per week
 18
      on managerial duties.
 19
 20         Between July 2008 until early 2009, when Peachey no longer served as the
 21   district manager, there were occasions when Molina was not in the store when he was
 22
      scheduled to be there. For example, one time Peachey called the store looking to speak
 23
 24   with Molina, but was told that Molina had left to pick up his children from school.
 25   Molina was scheduled to be in the store at that time. This happened more than once
 26
      and Peachey told Molina it was okay.
 27
 28
                                              9.
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1          Peachey had conversations with Molina regarding Molina’s complaint that he
2
     did not have enough payroll hours. Peachey would calculate the needed hours for
3
4    Molina’s store. Peachey would also conduct iVisits, where he would go to the

5    Westminster store when Molina was present, walk through the store and discuss store
6
     operations, areas for improvement and areas where the store was performing well.
7
8    Afterward, Peachey would follow up to ensure that the store manager was focusing on
9    improving the store operations. Exhibits 45-47, 50, 52-58 record iVisits with Molina
10
     at the Westminster store.
11
12            4. Jamie Reyes Testimony
13         Mr. Reyes served as the part time assistant store manager for the Dollar Tree
14
     store in Westminster, when Molina was the store manager. Reyes worked with Molina
15
16   and more often than not, Molina would not complete his scheduled shift. Molina
17   would leave the store a “couple of hours early.”
18
              5. Leticia Salgado Testimony
19
20         Ms. Salgado is a store manager in training, but worked with Molina from 2009
21   to 2011 as his assistant manager. Sometimes her shift overlapped with Molina’s shift.
22
     When Molina worked with Salgado, Molina left the store before the end of his shift.
23
24   Salgado estimated that if her shift overlapped with Molina’s shift four times in one
25   week, Molina would leave early two to three times in the week. Salgado characterized
26
     Molina’s behavior of leaving early as “routine”, with Molina typically saying he was
27
28   going to make the bank deposit and then not return. Molina instructed Salgado to tell

                                             10.
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1    the district manager that he was at lunch. Molina also took lunches. Molina would
2
     also step outside of the store to smoke a cigarette.
3
4              6. David Flores Testimony

5          Dollar Tree employs Mr. Flores as a district manager and in 2011, he
6
     supervised the Westminster Dollar Tree where Molina served as the store manager.
7
8    Mr. Flores investigated a bank report of money missing from a deposit in December
9    2011. Flores received an email of an overage on one deposit ($40) and shortage on
10
     another ($600). Flores informed Molina of the shortage and Molina expressed
11
12   surprise, stating that he and Dollar Tree Associate Adrian had gone to the bank to
13   make the deposit. Flores then went to the bank to investigate further. When Flores
14
     returned, he again spoke with Molina. At that time Molina admitted that he (Molina)
15
16   had forged Adrian’s initials and had taken the deposit to the bank by himself, in
17   violation of Dollar Tree policy. On another occasion, Flores visited the Westminster
18
     store during Molina’s scheduled shift. Molina was not at the store and had left early.
19
20   Molina stated it would never happen again.
21             7. Steven Pearson Testimony
22
           Mr. Pearson works for Dollar Tree as its Director of Productivity and Store
23
24   Services, and has done so for the past nine years. Mr. Pearson achieved a Bachelor’s
25   degree in management from Old Dominion University in Virginia and has worked in
26
     retail sales for over 20 years. He worked for 20 years in a grocery chain, before
27
28   moving to Dollar Tree. At one point, Pearson served as a retail labor analyst, where

                                              11.
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1    he supported the labor scheduling aspects of the business in terms of through systems
2
     and through data reporting and information. In his previous employment, he used a
3
4    precursor to Dollar Tree’s Compass system, Timera. He performed that job for 13

5    months.
6
           Thereafter, Pearson worked for six months within one of the retail stores doing
7
8    time studies and process analysis. Pearson defines “time study” as the evaluation and
9    observation of how processes or activities are performed at the store level, measuring
10
     how long it takes to perform a particular activity. One can complete a time study by
11
12   simply timing an associate completing the task or incorporate a “time-and-motion
13   study,” where one looks at the various steps putting all the building blocks together to
14
     create a standard on how long it takes to accomplish tasks. Pearson assisted Dollar
15
16   Tree in cross-referencing sales data and transaction data to forecast sales estimates. In
17   addition, Pearson used the sales forecasts to determine a “productivity target” or
18
     “sales per employee hour” target. The sales per employee hour divided into their
19
20   forecast sales yields the number of permissible payroll hours. Pearson takes the sales
21   information, using Compass to help generate those numbers, and then applies the
22
     sales-per-employee-hour productivity factor based on that sales projection. Pearson
23
24   believes those predictors are a realistic predictor of the number of hours the store
25   needs to operate.
26
           According to Pearson, a manager is permitted to modify schedules, switch shifts,
27
28   or create shifts to meet its business needs. Within 48 hours of freight arriving at the

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1    store, the store manager receives a “DC Delivery Prep Sheet,” to assist with arrival of
2
     the freight truck. The sheet details the categories of merchandise the store is to
3
4    receive off of the truck. It also provides the number of “u-boats” or carts necessary to

5    transport the freight, as well as the “stock rate”. The “stock rate” is the amount of
6
     employee time necessary to unload the freight. Pearson assisted in the development of
7
8    the stock rates, which vary depending upon the department, but are based upon his
9    timed studies. In calculating the stock rates, Pearson watched “hundreds of associates
10
     doing work and thousands of cases.” These estimates are not ambitious, but based
11
12   upon an average person with an average skill set.
13         In addition, Dollar Tree created Appleseed, a resource for managers for
14
     processing freight which implemented the planning principles used by the more
15
16   successful store managers in order to spread “best practices” throughout the company.
17   Prior to Appleseed, store managers would use a 20-case-per-hour estimate for
18
     unloading freight. Each of the best practices materials provided to store managers
19
20   states that the store manager is responsible for delegating tasks to assistant managers
21   or hourly store employees.
22
              8. Paul Jones Testimony
23
24         Mr. Jones serves as Dollar Tree’s Vice President of Applications and before
25   that, served as the Director of Application Development. In that capacity, Jones was
26
     responsible for building and maintaining all Dollar Tree information systems,
27
28   including freight flow and freight delivery productivity. Exhibit 121 details the

                                              13.
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1    freight deliveries to the store Molina managed, during July 2008 through December
2
     2011. Exhibit 254 lists the sale transaction for Richard A. on 12/29/2008 at 1:59 in
3
4    the afternoon.

5              9. Jeff Whitmore Testimony
6
           Mr. Whitmore works for Dollar Tree as its Manager of Field Compensation. In
7
8    that capacity, Mr. Whitmore is in charge of data extraction and reporting information
9    within the computer system. Specifically, Mr. Whitmore extracts data points and fills
10
     the data into reports requested. Exhibit 148 lists the hours worked by assistant
11
12   managers and hourly employees in the store Molina managed. Exhibit 145 indicates
13   that the between July 20, 2007 and December 31, 2011, there were zero hours where
14
     Mr. Molina was not spending 80 hours supervising.
15
16             10. Reed Balderas Testimony
17         Mr. Balderas is Dollar Tree’s Human Resources Manager. Between 2008 and
18
     2011, Balderas once spoke with Molina regarding Molina certifying “no” on his
19
20   weekly manager certifications as to his duties. Mr. Balderas doesn’t remember
21   specifically, but asked Molina why he certified “no.” Molina responded, but Balderas
22
     did not communicate that response to anyone. To Balderas’s knowledge, Molina was
23
24   not disciplined in any way as a result of his conversation with Balderas. Nor did
25   Molina have his pay reduced in any way as a result of the conversation. In addition,
26
     Balderas denies that Molina ever told him that he (Molina) had been convicted of a
27
28   felony or spent five years in prison.

                                             14.
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1              11. Kathryn Johnson Testimony
2
           Ms. Johnson as worked as Dollar Trees HR Director for Logistics for three
3
4    years. In that capacity, she spoke with Molina regarding his certification of “no” on

5    his weekly reports, as well as Molina failing to check anything on certain reports.
6
     Molina responded that he wasn’t sure what he should be checking, and would follow
7
8    up with his district manager. To Johnson’s knowledge, Molina was not disciplined in
9    any way as a result of his conversation with Balderas. Nor did Molina have his pay
10
     reduced in any way as a result of the conversation.
11
12                12. David Bevilacqua Testimony
13         Mr. Bevilacqua works as the Manager of Field Training and Development for
14
     the region encompassing the Westminster store which Molina managed. Exhibit 108
15
16   shows email “invitations” to a training session which store managers were expected to
17   attend regarding Appleseed Best Practices.
18
                  13. Ryan Prettyman Testimony
19
20         Mr. Prettyman is employed for Dollar Tree as its Zone Sales Director for the
21   area which includes the Westminster store. Dollar Tree vests every store manager
22
     with discretion to organize over one-half of the end caps in the store. Dollar Tree asks
23
24   that some end caps remain uniform, but the rest are left to the discretion of the store
25   manager. Store managers also have discretion to place items together to increase
26
     sales. Seasonal items are located in the front of the store and arranged by the store
27
28   manager. A store manager also chooses which items to order, and in what quantities

                                              15.
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1    for certain areas called “flex space.”
2
           C. Credibility Determinations
3
4          Ninth Circuit Model Jury Instruction 1.11 provides guidance to jurors when

5    assessing credibility. The factors include: (1) the opportunity and ability of the
6
     witness to see or hear or know the things testified to; (2) the witness’s memory; (3)
7
8    the witness’s manner while testifying; (4) the witness’s interest in the outcome of the
9    case and any bias or prejudice; (5) whether other evidence contradicted the witness’s
10
     testimony; (6) the reasonableness of the witness’s testimony in light of all the
11
12   evidence; and, (7) any other factors that bear on believability. Ninth Cir. Model Jury
13   Instr. 1.11 (Civil) (2007). The Court finds these factors helpful in assessing the
14
     credibility of the witnesses.
15
16         First, the Court finds Plaintiff Molina’s testimony to be not credible. The Court
17   observed his demeanor while testifying. Mr. Molina lied about his felony conviction,
18
     seeking to blame his parole officer for his failure to detail his prior felony conviction.
19
20   Mr. Molina also admitted that he lied with respect to his education, as he did not
21   graduate from high school. Mr. Molina’s memory was selective; he remembered
22
     certain things when asked by his attorney, but could not remember when asked by
23
24   opposing counsel. Mr. Molina admitted to forging his associate’s signature, and when
25   Mr. Molina stated that he worked alone on December 29, 2008. The Court observed
26
     Mr. Molina’s demeanor and found his to be evasive at times. His memory was
27
28   selective. In addition, Mr. Molina has an interest in the outcome of the case. As a

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1    result, the Court finds Mr. Molina to be not credible.
2
           In contrast, the Court finds the testimony of Mr. Molina’s associates, Jamie
3
4    Reyes and Leticia Salgado to be credible. The Court observed their demeanor and

5    found them to be credible witnesses. Although they may still work for Dollar Tree
6
     and with respect to Ms. Salgado, were given a benefit, their testimony is mutually
7
8    corroborative. Each witness testified in a straightforward manner. Accordingly, the
9    Court deems their testimony to be credible.
10
           With respect to the other Dollar Tree representatives, the Court finds their
11
12   testimony to be credible. The Court observed the demeanor of the witnesses, and
13   found them to be consistent with the documents and with each other. The witnesses
14
     responded to questions in a straightforward and forthright manner. They presented as
15
16   an unbiased witness who simply answered the questions. They held no bias against
17   Mr. Molina. Accordingly, the Court believes the testimony of the Dollar Tree
18
     employees, specifically Mr. McDearmon, Mr. Peachey, Mr. Flores, Mr. Jones, Mr.
19
20   Whitmore, Mr. Balderas, Ms. Johnson, Mr. Bevilacqua and Mr. Prettyman.
21                                             III.
22
                                  CONCLUSIONS OF LAW
23
24         Plaintiffs alleged five state causes of action against Defendant: (1) unfair
25   competition in violation of California Business & Professions Code section 17200, et
26
     seq.; (2) failure to pay overtime compensation in violation of California Labor Code
27
28   sections 510, 1194, and 1198; (3) failure to provide accurate itemized statements in

                                             17.
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1    violation of California Labor Code section 226; (4) failure to provide wages when due
2
     in violation of California Labor Code sections 201-203; and (5) a violation of
3
4    California Labor Code section 2699.3, PAGA. In essence, Plaintiff premises his five

5    causes of action on an allegation that Dollar Tree mischaracterized “Store Managers”
6
     as “exempt” employees. “An employee who brings suit under s 16(b) of the Act for
7
8    unpaid minimum wages or unpaid overtime compensation, together with liquidated
9    damages, has the burden of proving that he performed work for which he was not
10
     properly compensated.” Anderson v. Mt. Clemens Pottery Co., 328 U.S. 680, 686-87
11
12   (1946).
13
14      A. Plaintiff Failed to Prove his Case-in-Chief.

15         1. Plaintiff’s testimony was not credible
16
           According to Federal Rule of Civil Procedure 52(a)(6), a “the reviewing court
17
18   must give due regard to the trial court's opportunity to judge the witnesses' credibility”

19   unless there is clear error. “When findings are based on determinations regarding the
20
     credibility of witnesses, Rule 52(a) demands even greater deference to the trial court's
21
22   findings; for only the trial judge can be aware of the variations in demeanor and tone

23   of voice that bear so heavily on the listener's understanding of and belief in what is
24
     said.” Anderson v. City of Bessemer City, N.C., 470 U.S. 564, 575 (1985); see also
25
26   McLaughlin v. Ho Fat Seto, 850 F.2d 586, 589 (9th Cir. 1988) (according “great

27   deference to the trial court’s opportunity to assess the credibility of witnesses”).
28
                                              18.
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1           Here, Mr. Molina was not credible. He lied on multiple occasions, for example
2
     his education, his criminal history, working alone and the December 29, 2008 bank
3
4    deposit incident. Thus, his claims that he consistently worked more than 35 per cent

5    on non-exempt tasks, never took a lunch break and was coerced into certifying yes on
6
     his duty certifications are rejected. In contrast, the other witnesses whom the Court
7
8    found credible directly contradicted Mr. Molina’s testimony. For example, Jamie
9    Reyes, and Leticia Salgado testified that Mr. Molina routinely left work early and took
10
     lunch. Mr. Balderas testified the Mr. Molina never told him that he (Molina) had been
11
12   convicted of a felony. As Plaintiff’s case consisted predominately of Mr. Molina’s
13   testimony and documents which he created, he has failed to meet his burden of proof.
14
15          2. Plaintiff failed to prove that He Worked Overtime or was not Provided Meal
16             Periods.

17             a. Plaintiff did not provide competent or credible evidence that he worked
18                overtime hours.

19          Under California law, an employee is presumptively entitled to overtime
20
     compensation for all hours worked in excess of eight hours per day or forty hours per
21
22   week.5 Cal. Lab.Code § 510(a); see Lopez v. United Parcel Serv., Inc., No. C08-05396

23   SI, 2010 WL 728205, at *3 (N.D. Cal. Mar. 1, 2010) (citing Cal. Lab. Code § 501(a)).
24
            California law provides that an employee may provide estimates of time worked
25
     5
26    “Federal law interpreting similar components of the FLSA exemptions is properly considered as
     persuasive authority, even if not binding on this court.” In re United Parcel Serv. Wage & Hour
27   Cases, 190 Cal. App. 4th 1001, 1015 (2010).
28
                                                 19.
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                                  #:8403


1    to prove the existence of unpaid overtime hours and missed meal periods. Eicher v.
2
     Advanced Bus. Integrators, Inc., 151 Cal. App. 4th 1363, 1377 (2007). In Eicher the
3
4    Court explained that

5          Although the employee has the burden of proving that he performed
6          work for which he was not compensated, public policy prohibits making
           that burden an impossible hurdle for the employee. [Citation.] ‘[W]here
7          the employer's records are inaccurate or inadequate and the employee
8          cannot offer convincing substitutes a ... difficult problem arises. The
           solution, however, is not to penalize the employee by denying him any
9          recovery on the ground that he is unable to prove the precise extent of
10         uncompensated work. Such a result would place a premium on an
           employer's failure to keep proper records in conformity with his statutory
11         duty; it would allow the employer to keep the benefits of an employee's
12         labors without paying due compensation.... In such a situation we hold
           that an employee has carried out his burden if he proves that he has in
13         fact performed work for which he was improperly compensated and if he
14         produces sufficient evidence to show the amount and extent of that work
           as a matter of just and reasonable inference. The burden then shifts to the
15         employer to come forward with evidence of the precise amount of work
16         performed or with evidence to negative the reasonableness of the
           inference to be drawn from the employee's evidence. If the employer fails
17         to produce such evidence, the court may then award damages to the
18         employee, even though the result be only approximate.’
19   Id. (quoting Hernandez v. Mendoza, 199 Cal.App.3d 721, 727 (Ct. App. 1988)).
20
21         “[O]nce an employee proves he or she ‘has in fact performed work’ that was
22   improperly compensated, and presents enough evidence to allow an inference as to the
23
     amount of this work, the burden shifts to the employer to prove the precise amount of
24
25   work performed or to negate the inference drawn from the employee's evidence.”
26   Amaral v. Cintas Corp. No. 2, 163 Cal. App. 4th 1157, 1189 (2008) (citation omitted).
27
28
                                            20.
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1          Plaintiff argues that he has satisfied the burden of his case in chief by
2
     demonstrating that his minimum hours worked were those scheduled in Defendant’s
3
4    Compass system, which hours exceed eight in a workday. (Dkt. No. 156 at 1.)

5    Plaintiff relied on the Compass system records at trial and argues that Defendant
6
     “failed to meet its burden of rebutting the inferences raised by Plaintiff’s evidence or
7
8    prove the precise amount of hours worked.” (Dkt. No. 156 at 6.) Accordingly, Plaintiff
9    argues that the Compass system is the best evidence of hours worked and Amaral
10
     applies. See Hernandez, 199 Cal. App. 3d at 727 (“[I]n cases such as the present one,
11
12   where the employer has failed to keep records required by statute, the consequences
13   for such failure should fall on the employer, not the employee. In such a situation,
14
     imprecise evidence by the employee can provide a sufficient basis for damages.”).
15
16         First, Molina controlled the creation of the Compass schedules. In addition,
17   according to the testimony of Peachey, the 50 hours per week which Molina was
18
     expected to work included a one-hour lunch break each day. The Court credits the
19
20   testimony of Peachey. Additionally, Ms. Salgado testified that she never saw Molina
21   work his entire shift when her shift overlapped with his. The Court credits Salgado’s
22
     testimony. Thus, Plaintiff failed to meet his burden of proof.
23
24            b. Plaintiff did not establish that he was not provided an opportunity to take
                 meal and rest breaks
25
26         “Cal. Lab. Code § 512(a) requires employees working more than five hours in a
27
     shift must be relieved of all work duties for 30 minutes.” Brinker Rest. Corp. v. Super.
28
                                              21.
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1    Ct., 53 Cal.4th 1004, 1040-1041 (2012).
2
           An employer satisfies this obligation if it “relieves its employees of all duty,
3
4    relinquishes control over the activities and permits [employees] a reasonable

5    opportunity to take an uninterrupted 30-minute break and does not impede or
6
     discourage them from doing so.” Id. at 1040. “[T]he employer is not obligated to
7
8    police meal breaks and ensure no work thereafter is performed.” Id.
9          “If an employer's records show no meal period for a given shift over five hours,
10
     a rebuttable presumption arises that the employee was not relieved of duty and no
11
12   meal period was provided. This is consistent with the policy underlying the meal
13   period recording requirement, which was inserted in the IWC's various wage orders to
14
     permit enforcement.” Brinker, 53 Cal. 4th at 1053.
15
16
           “An employer's assertion that it did relieve the employee of duty, but the
17
18   employee waived the opportunity to have a work-free break, is not an element that a

19   plaintiff must disprove as part of the plaintiff's case-in-chief. Rather, as the Court of
20
     Appeal properly recognized, the assertion is an affirmative defense, and thus the
21
22   burden is on the employer, as the party asserting waiver, to plead and prove it.”

23   Brinker, 53 Cal. 4th at 1053.
24
25         As stated above, the Court believed the testimony of Peachey that the schedule
26   assumed a one-hour lunch break daily. Moreover, the Court disbelieves Molina’s
27
     testimony that he never took lunch breaks. Rather the Court credits the testimony of
28
                                              22.
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1    Salgado, who testified that Molina routinely took a lunch break. Therefore, Plaintiff
2
     has failed to establish that he was not provided an opportunity to take meal and rest
3
4    breaks.

5
               c. Defendant carried its burden to show Molina was properly classified as
6
                  an exempt employee.
7
           “Exempt” employees are not bound by the wage and hour restrictions of
8
9    California Labor Code section 510 and as such are not entitled to overtime pay. Wage
10
     Order 7-2001; see also Lopez, WL 728205, at *3 (N.D. Cal. Mar. 1, 2010) (quoting
11
     Cal.Code Regs. tit. 8, § 11090(1)(A)(1)). An employer who claims that an employee
12
13   is exempt from overtime compensation bears the burden of proving as an affirmative
14
     defense that the exemption applies. Gomez v. Lincare, Inc., 173 Cal.App.4th 508, 516
15
16   (Cal. Ct. App. 2009). “Exemptions are narrowly construed against the employer and

17   their application is limited to those employees plainly and unmistakably within their
18
     terms.” Nordquist v. McGraw-Hill Broadcasting Co., 38 Cal. App. 4th 555, 562
19
20   (1995); see generally Lopez, 2010 WL 728205, at *3 (N.D. Cal. Mar. 1, 2010).

21         An employee qualifies for exemption if: (a) his or her “duties and
22
     responsibilities involve the management of the enterprise in which he/she is employed
23
24   . . .;” and (b) he or she “customarily and regularly directs the work of two or more

25   other employees herein;” and (c) he or she “has the authority to hire or fire other
26
     employees or [his or her] suggestions and recommendations as to the hiring or firing
27
28   [are] given particular weight”; and (d) he or she “customarily and regularly exercises

                                             23.
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1    discretion and independent judgment;” and (e) he or she is “primarily engaged in
2
     duties which meet the test of exemption.” Wage Order 7-2001 (a)-(e); Cal. Code Regs.
3
4    tit. 8, § 11090(1)(A)(1). “Exempt” employees “must also earn a monthly salary

5    equivalent to no less than two (2) times the state minimum. Wage Order 7-2001(f).
6
           Defendant classified Plaintiff as an “exempt” employee under the executive
7
8    exemption of Industrial Welfare Commission Wage Order 7-2001. Defendant argues
9    that even assuming Molina provided credible evidence that he worked overtime or
10
     was not provided with full meal period breaks, he was not entitled to overtime or
11
12   breaks because he was not properly classified as an exempt executive employee. (Dkt.
13   No. 177 at 41.)
14
           Plaintiff argues that Defendant failed to meet its burden for all the workweeks
15
16   between July 20, 2008 to March 14, 2009 because Plaintiff contemporaneously
17   indicated on a workweek by workweek basis between July 20, 2008 to March 14,
18
     2009 that he was not primarily engaged in exempt duties, but rather was engaged in
19
20   nonexempt duties due to insufficient hourly employees in the store to do the work in
21   the allotted hours.” (Dkt. No. 156 at 2.) The Court will examine the requirements of
22
     Wage Order 7-2001 in turn.
23
24                 i.   Plaintiff managed an entire establishment
25         Plaintiff did not object to Defendant’s assertions that he managed an entire
26
     establishment. (Dkt. No. 174 ¶ 83.) In addition, Dollar Tree presented credible
27
28   testimony showing that Molina, as the store manager, was responsible for running the

                                            24.
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1    entire store. Accordingly, the Court finds this prong has been established.
2
                   ii.   Plaintiff customarily and regularly directed more than 2 full time
3                        employees
4
           Plaintiff did not object to Defendant’s assertions that he customarily and
5
6    regularly directed employees. (Dkt. No. 174 ¶¶ 84-85.) The Court finds Molina’s
7    resume, Exhibit 3, describing his duties while at Dollar Tree to be credible and
8
     revealing. Mr. Molina stated that he managed up to 40 employees, overseeing “all
9
10   aspects of the business” “training associates” and “delegation of tasks”. He admitted
11   using his judgment to schedule workers, cashier hours, freight processors and sales
12
     recovery personnel. The Court credits this testimony as it is corroborated by exhibits
13
14   143, 248 and McDearmon’s testimony regarding assistant store manager and store
15   manager training. Thus, the Court finds this prong to be met.
16
                  iii.   Plaintiff had the authority to hire and fire
17
18         Plaintiff did not object to Defendant’s assertions that he had the authority to
19   hire, fire and advance employees and that his suggestions or recommendations were
20
     given particular weight. (Dkt. No. 174 ¶ 86.) In addition, Molina admitted this in his
21
22   testimony. The Court credits this testimony as it is corroborated by Dollar Tree
23   training materials, Exhibits 3, 60, 122, and Dollar Tree testimony. Accordingly, the
24
     Court finds this Wage Order requirement to be met.
25
26                iv.    Plaintiff exercised discretion and independent judgment
27
           Plaintiff did not object to Defendant’s assertions that “he customarily and
28
                                              25.
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                                  #:8409


1    regularly exercised discretion and independent judgment with respect to planning for
2
     his store, managing his payroll, time and attendance, inventory and ordering,
3
4    merchandising . . .” (Dkt. No. 174 ¶¶ 87-89.) The Court credits the testimony of

5    Prettyman who explained that store managers were vested with authority to organize a
6
     large portion of the store. Dollar Tree vested Molina with discretion to create certain
7
8    “end caps” and organize aisles. Mr. McDearmon’s testimony regarding the assistant
9    store manager and store manager training provides circumstantial evidence that
10
     Molina exercised independent judgment and discretion. Further, Mr. Prettyman also
11
12   testified that Dollar Tree permits a store manager to choose which items to order, and
13   in what quantities. Mr. Peachey’s testimony and the iVisit exhibits also support this
14
     conclusion. Accordingly, the Court finds Molina to have exercised discretion and
15
16   independent judgment.
17                 v.   Plaintiff’s monthly salary exceeded two times California’s
18                      minimum wage
19         California law requires, that an executive employee “earn a monthly salary
20
     equivalent of no less than two times the state minimum wage for full-time
21
22   employment.” 8 Cal. Code Regs. § 11040(1)(A). Plaintiff stipulated to this fact and
23   posed no objections in its response to Defendant’s memorandum of contentions of law
24
     and fact. (Dkt. No. 174 ¶¶ 90-92.) Accordingly, the Court finds this element of the
25
26   Wage Order requirement has been met.
27
                  vi.   Molina was primarily engaged in exempt tasks.
28
                                             26.
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1          The California Wage Order incorporates the definitions set forth in the
2
     regulations promulgated under the FLSA. 8 Cal. Code Regs. § 1070 1(A)(1)(e).
3
4    Specifically, the Wage Order incorporates the following definition of exempt tasks:

5          interviewing, selecting, and training of employees; setting and adjusting
6          their rates of pay and hours of work; directing the work of employees;
           maintaining production or sales records for use in supervision or control;
7          appraising employees' productivity and efficiency for the purpose of
8          recommending promotions or other changes in status; handling employee
           complaints and grievances; disciplining employees; planning the work;
9          determining the techniques to be used; apportioning the work among the
10         employees; determining the type of materials, supplies, machinery,
           equipment or tools to be used or merchandise to be bought, stocked and
11         sold; controlling the flow and distribution of materials or merchandise
12         and supplies; providing for the safety and security of the employees or
           the property; planning and controlling the budget; and monitoring or
13         implementing legal compliance measures.
14
     29 C.F.R. § 541.102.
15
16         “[T]he trial court should also consider whether the employee's practice diverges

17   from the employer's realistic expectations, whether there was any concrete expression
18
     of employer displeasure over an employee's substandard performance, and whether
19
20   these expressions were themselves realistic given the actual overall requirements of

21   the job.” Ramirez v. Yosemite Water Co., Inc., 20 Cal. 4th 785, 802 (1999).
22
           Defendant argues that Plaintiff’s failure to meet their realistic expectations is
23
24   due to his substandard performance as a manager. Korte v. Dollar Tree Stores, Inc.,

25   No. CIV. S-12-541 LKK, 2013 WL 2604472, at *7 (E.D. Cal. June 11, 2013) (finding
26
     Dollar Tree’s argument credible that the plaintiff “spent more than 50 percent of his
27
28   time on non-exempt functions because he failed to meet the company's realistic

                                              27.
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1    expectations for job performance”).
2
3          This element forms the centerpiece of the parties’ dispute. First, the Court does
4
     not credit Molina’s testimony that he predominately engaged in non-exempt activities.
5
     Mr. Molina consistently certified “yes” that he was spending more than 50 per cent of
6
7    his time on supervisory duties. The Court finds Mr. Molina was not coerced into
8
     certifying “yes”. Molina certified over 144 times “yes.” See Exhibits 14, 17. The
9
     Court also finds that Molina did not receive discipline or a reduction in pay as a result
10
11   of certifying “no” on those occasions. Specifically, the Court believes the testimony
12
     of Balderas and Johnson which supports this conclusion. In addition, Molina hired
13
14   and fired employees, trained employees, completed the work schedule, planned for

15   freight deliveries, and outlined and organized the layout of the store as outlined by
16
     Dollar Tree exhibits. Mr. Prettyman’s testimony further supports the conclusion that
17
18   Molina exercised judgment in ordering and organizing the store. Exhibit 3 supports

19   this conclusion.
20
21         In addition, Mr. Pearson’s testimony reflects detailed, realistic expectations for
22   the average worker based upon a comprehensive time study. Pearson watched
23
     thousands of hours of tape which led to realistic expectations of employee task hours.
24
25   Therefore, the Court concludes, as an independent basis that Dollar Tree has carried
26
27
28
                                              28.
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1    its burden to show that Molina was properly categorized as an “exempt” employee.6
2
3               d. Molina’s fails to show California Labor Code Violations.
4
5           Plaintiff also alleges claims for failure to: (1) pay overtime, in violation of
6
     California Labor Code sections 510, 1194, 1198; (2) provide accurate itemized
7
     statements, in violation of California Labor Code section 226; and, (3) pay wages, in
8
9    violation of California Labor Code section 203. As detailed previously, Plaintiff has
10
     failed to carry his burden of proof and Dollar Tree properly classified Molina as an
11
     exempt employee. As a result, these claims necessarily fail.
12
13              e. Molina Fails to Show He is an Appropriate Representative to Seek a
14                 Violation of the Private Attorneys General Act (Cal. Labor Code Sections
                   2698, et seq.) (“PAGA”)
15
16          Plaintiff brings this representative action claim under California Labor Code

17   section 2699, (“PAGA”), on behalf of the State of California with respect to
18
     themselves and all other individuals who are or were employed by Defendant as
19
20   “Store Managers” during the applicable statutory period. Under PAGA, Plaintiff is

21   deputized to recover civil penalties for California Labor Code violations. Cal. Lab.
22
     Code § 2699(a); see Arias, 46 Cal. 4th at 986. Plaintiff’s PAGA claim is limited to the
23
24   last 13 pay periods or 26 weeks of Plaintiff’s employment; from July 20, 2011 through

25   December 31, 2011 (the “PAGA Period”). (Dkt. No. 176 at 29.)
26
     6
27     Given the Court’s findings of fact, it need not address each of Plaintiff’s objections. To the extent
     inconsistent with the Court’s Findings of Fact and Conclusions of Law, Plaintiff’s objections are
28   overruled.

                                                    29.
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1          Plaintiff is acting “as the proxy or agent of the state’s labor law enforcement
2
     agencies” seeking civil penalties “that otherwise would have been assessed and
3
4    collected by the [LWDA].” Arias, 46 Cal. 4th at 986; see McKenzie, 765 F. Supp.2d at

5    1231. In the Court’s Order denying Defendant’s motion to strike the representative
6
     allegations, the Court ruled that Plaintiff alleged to be an aggrieved employee and as
7
8    such he had standing to bring this claim. (Dkt. No. 95 at 18.) As detailed previously,
9    Plaintiff did not prove at trial he was an aggrieved employee, therefore may not
10
     pursue a representative action under PAGA.
11
12             f. Molina fails to show Unfair Competition in Violation of California
                  Business and Professions Code § 17200, et seq., (“UCL”).
13
14         The UCL “allows recovery for ‘any unlawful, unfair or fraudulent business act
15   or practice....’ An action based on this state statute ‘borrows’ violations of other laws
16
     when committed pursuant to business activity. Harris v. Investor's Bus. Daily, Inc.,
17
18   138 Cal. App. 4th 28, 32-33, 41 Cal. Rptr. 3d 108, 111 (2006) (quoting Farmers Ins.
19   Exchange v. Superior Court, 2 Cal.4th 377, 383 (1992)).
20
21         Plaintiff seeks unpaid overtime and meal period wages for the four years prior
22
     to the filing of their complaint under California Business & Professions Code section
23
24   17208. Plaintiff argues “Defendant benefitted from Plaintiff’s working overtime and

25   performing non-exempt duties and the proper award of restitution is payment of
26
     Plaintiff’s back wages.” (Dkt. No. 156 at 17.) Plaintiff’s allegations under the UCL
27
28   are premised on a violation of wage and hour violations and meal break violations.

                                              30.
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1    Because Plaintiff did not bear his burden of proof at trial, and because the Court found
2
     that he was properly categorized as an exempt employee, his UCL claim fails.
3
4
           Judgment is for Defendant.
5
6    IT IS SO ORDERED.

7    Dated: May 19, 2014             ____________________________________
8                                    HONORABLE BEVERLY REID O’CONNELL
                                     UNITED STATES DISTRICT COURT JUDGE
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